













NUMBER 13-08-00399-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


______________________________________________________________

	

JULIAN PUENTE RODRIGUEZ, 	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

_____________________________________________________________


On appeal from the 103rd District Court 


of Cameron County, Texas.

______________________________________________________________


MEMORANDUM OPINION


	

Before Justices Yanez, Garza, and Vela


Memorandum Opinion Per Curiam


	Appellant, Julian Puente Rodriguez, attempted to perfect an appeal from a
conviction for aggravated sexual assault.  We dismiss the appeal for want of jurisdiction.

	Sentence in this matter was imposed on March 10, 2006.  No motion for new trial
was filed.  Notice of appeal was filed on June 17, 2008.  On June 25, 2008, the Clerk of
this Court notified appellant that it appeared that the appeal was not timely perfected. 
Appellant was advised that the appeal would be dismissed if the defect was not corrected
within ten days from the date of receipt of the Court's directive.  Appellant has not
responded to this notice.   

	Unless a motion for new trial has been timely filed, a notice of appeal must be filed
within thirty days after the day sentence is imposed or suspended in open court, or after
the day the trial court enters an appealable order.  Tex. R. App. P. 26.2(a)(1).  Where a
timely motion for new trial has been filed, the notice of appeal must be filed within ninety
days after the day sentence is imposed or suspended in open court.  See id. 26.2(a)(2). 
The time within which to file the notice may be enlarged if, within fifteen days after the
deadline for filing the notice, the party files the notice of appeal and a motion complying
with Rule 10.5(b) of the Texas Rules of Appellate Procedure.  See id. 26.3.

	Appellant's notice of appeal, filed more than twenty-six months after sentence was
imposed, was untimely, and accordingly, we lack jurisdiction over the appeal.  See Slaton,
981 S.W.2d at 210.  Appellant may be entitled to an out-of-time appeal by filing a
post-conviction writ of habeas corpus returnable to the Texas Court of Criminal Appeals;
however, the availability of that remedy is beyond the jurisdiction of this Court.  See Tex.
Code Crim. Proc. Ann. art. 11.07, § 3(a) (Vernon 2005); see also Ex parte Garcia, 988
S.W.2d 240 (Tex. Crim. App. 1999).

	The appeal is DISMISSED FOR WANT OF JURISDICTION. 										PER CURIAM

Do not publish.  See Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and filed

this the 20th day of November, 2008. 


